Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 1 of 18 PageID #:1812
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 2 of 18 PageID #:1813
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 3 of 18 PageID #:1814
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 4 of 18 PageID #:1815
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 5 of 18 PageID #:1816
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 6 of 18 PageID #:1817
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 7 of 18 PageID #:1818
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 8 of 18 PageID #:1819
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 9 of 18 PageID #:1820
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 10 of 18 PageID #:1821
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 11 of 18 PageID #:1822
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 12 of 18 PageID #:1823
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 13 of 18 PageID #:1824
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 14 of 18 PageID #:1825
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 15 of 18 PageID #:1826
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 16 of 18 PageID #:1827
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 17 of 18 PageID #:1828
Case: 1:04-cr-01023 Document #: 682 Filed: 04/08/08 Page 18 of 18 PageID #:1829
